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   9
  10                        UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                             DEFENDANT AND COUNTERCLAIM
                  Plaintiff,                     PLAINTIFF INTERFOCUS, INC. D.B.A.
  15                                             WWW.PATPAT.COM’S OBJECTIONS
           v.                                    TO EVIDENCE SUBMITTED BY
  16                                             PLAINTIFF IN SUPPORT OF ITS
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware                  MOTION FOR SUMMARY JUDGMENT
     Corporation; CAN WANG, and                  AND IN OPPOSITION TO INTERFOCUS’
  18 individual, and DOES 1-10, inclusive.,      MOTION FOR SUMMARY JUDGMENT

  19                Defendants.
  20                                              Date: August 23, 2021
     INTERFOCUS, INC. d.b.a.                      Time: 10:00 am
  21 www.patpat.com, a Delaware                   Courtroom: 8D
     Corporation; CAN WANG, an                    Honorable Christine A. Snyder
  22 individual, and DOES 1-10, inclusive,
  23                Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

                 INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1                               EVIDENTIARY OBJECTIONS
   2         INTERFOCUS INC. d.b.a. www.patpat.com (“Interfocus”) hereby objects to
   3
       and moves to strike portions of the Declarations of Yoel Newman and Chan Yong
   4
       Jeong and related exhibits on the following grounds:
   5
         Declaration of Yoel Newman (Dkt.                     Objection            Ruling
   6
                       No. 44-1)
   7
       I, YOEL NEMAN, declare:
   8
       1. I am over 18 years of age and have
   9
       personal knowledge of each fact stated in
  10
       this declaration. If called upon to testify
  11
       thereto as a witness, I can and will testify.
  12
       This declaration is submitted in support
  13   of Plaintiff’s Motion for Summary
  14   Judgment and/or Adjudication against
  15   Defendant Interfocus, Inc. (“Interfocus”),
  16   and in opposition to Interfocus’ Motion
  17   for Summary Judgment.
  18   2. I am the president of Plaintiff NEMAN
  19   BROTHERS & ASSOC., INC.
  20   (“Plaintiff” or “Neman Brothers”). I have

  21   been working in the fashion industry
       involving fabrics, designs printed on the
  22
       fabrics, and garments for over 30 years,
  23
       and I am the duly authorized custodian of
  24
       the business records, including the
  25
       exhibits attached hereto.
  26
       3. I have the personal knowledge as to the
  27
       manner of creation and maintenance of
  28

                                                       2
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
Case 2:20-cv-11181-CAS-JPR Document 48 Filed 08/02/21 Page 3 of 50 Page ID #:903




   1    Declaration of Yoel Newman (Dkt.                       Objection             Ruling
   2                   No. 44-1)
   3   such business records. I hereby certify
   4   that the exhibits attached hereto have
   5   been created and maintained in Plaintiff’s

   6   regular course of business, were made at

   7   or near the time of the act, condition or
       event recorded therein, and therefore, are
   8
       true and genuine.
   9
       4. Neman Brothers is a Los Angeles-          Fed. R. Evid. 402: Irrelevant;
  10
       based textile converter selling fabrics to   Fed. R. Evid. 602: Lacks
  11
       the garment manufacturers that               Foundation. Mr. Newman
  12
       manufacture garments out of our fabrics,     cannot testify as to what
  13
       to be sold to the retailer businesses.
                                                    customers do after purchasing
  14   Neman Brothers generates business by
                                                    Neman Brothers’ fabric.
  15   marketing its line of designs to its
  16   customers, who will purchase Neman
  17   Brothers’ design-oriented fabric to be
  18   created into clothing and sold at retail
  19   stores nationwide.
  20   5. As the fabric wholesale industry is       Fed. R. Evid. 402: Irrelevant;
  21   very competitive as to the qualities and     Fed. R. Evid. 702: Improper
  22   the pricing, one major way of enhancing      Expert Opinion regarding
       the competitiveness is to develop unique     competition in the marketplace
  23
       designs to be printed upon the fabric,
  24
       which would make the fabrics more
  25
       attractive, unique and competitive.
  26
       Therefore, having original and
  27
       proprietary artwork is critical to Neman
  28

                                                    3
               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1    Declaration of Yoel Newman (Dkt.                        Objection                Ruling
   2                   No. 44-1)
   3   Brothers’ ability to compete in the
   4   marketplace, and it invests heavily in its
   5   design team and its proprietary line of

   6   design.

   7   6. Neman Brothers either internally           Fed. R. Evid. 402: Irrelevant;
       creates, or purchases the ownership from      Fed. R. Evid. 602: Lacks
   8
       design studios, two-dimensional works of Foundation. Mr. Newman
   9
       art for use on textiles which Neman      cannot testify as to what
  10
       Brothers customers use to make garments
  11                                                 customers do after purchasing
       to be sold to retail businesses.
  12                                                 Neman Brothers’ fabric.
  13   7. Unauthorized use of Neman Brothers'        Fed. R. Evid. 402: Irrelevant as
  14   designs undermines its competitive            to other lawsuits involving
       advantage in a highly competitive             different parties; Fed. R. Evid.
  15
       industry. Therefore, for protection of the    403. Probative Value
  16
       designs, Neman Brothers routinely
  17                                                 Outweighed; Fed. R. Evid. 602:
       registers new artworks as a collection for
  18                                                 Lacks Foundation as to evidence
       copyrights with the U.S. Copyright
  19                                                 about other businesses; Fed. R.
       Office before introducing them to the
  20                                                 Evid. 702: Improper Expert
       market. Unfortunately, as there are many
  21                                                 Opinion regarding competition
       businesses selling illegal copies, some
  22   willful infringers and some innocent          in the marketplace; Fed. R. Evid.
  23   infringers, Neman Brothers get to find        802: Hearsay; Assumes Facts
  24   many illegal copies, and for protection of    Not in Evidence (U.S. v.
  25   its copyrights, has had to file numerous      Schindler, 614 F.2d. 227, 228
  26   cases when the parties could not settle the (9th Cir. 1980).

  27   matter prior to filing the actions. Most of

  28   the cases settled. In none of the

                                                     4
                 INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1    Declaration of Yoel Newman (Dkt.                        Objection               Ruling
   2                   No. 44-1)
   3   settlement agreements in those cases,
   4   Neman Brothers never agreed the
   5   defendants’ liability for future

   6   infringements would be completely

   7   released as long as the defendants remove
       the future infringing garments off their
   8
       selves or website because it would be like
   9
       giving a permanent unlimited license for
  10
       free unless the defendants pay fair
  11
       amount in return for such quasi-license.
  12
       8. Neman Brothers pays companies that        Fed. R. Evid. 402: Irrelevant;
  13
       perform printing services to print fabric    Fed. R. Evid. 602: Lacks
  14   bearing Neman Brothers’ exclusive            foundation to testify about other
  15   designs. Neman Brothers then sells that      companies
  16   fabric to its customer base, which is
  17   composed mainly of companies that
  18   make and sell garments to retailers.
  19   9. Neman Brothers, whenever                  Fed. R. Evid. 402: Irrelevant;
  20   introducing new designs, make sure its       Fed. R. Evid. 602: Lacks
  21   vendors and customers understand that        foundation to testify about other
  22   Neman Brothers’ designs are proprietary      companies; Fed. R. Evid. 802:
       work copyright registered. Neman
  23                                                Hearsay
       Brothers’ vendors agree to not print or
  24
       sell fabric bearing Neman Brothers’
  25
       designs unless specifically authorized by
  26
       Neman Brothers.
  27
  28

                                                    5
               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
Case 2:20-cv-11181-CAS-JPR Document 48 Filed 08/02/21 Page 6 of 50 Page ID #:906




   1    Declaration of Yoel Newman (Dkt.                  Objection                Ruling
   2                   No. 44-1)
   3   10. Neman Brothers is the owner of two-
   4   dimensional artworks called NB161106
   5   (“Subject Design 1”), NB170268

   6   (“Subject Design 2”) and NB180228

   7   (“Subject Design 3”) which are at issue in
       this case.
   8
       11. The Subject Design 1 was registered
   9
       with the United States Copyright Office
  10
       on January 13, 2017, and allocated
  11
       Registration VAu-1-304-334. A true and
  12
       correct copy of the Subject Design 1 and
  13
       the Copyright Registration Certificate
  14   thereof are attached hereto as Exhibit 1
  15   and 2.
  16   12. The Subject Design 2 was registered
  17   with the United States Copyright Office
  18   on March 3, 2017, and allocated
  19   Registration VAu-1-317-742. A true and
  20   correct copy of the Subject Design 2 and

  21   the Copyright Registration Certificate

  22   thereof are attached hereto as Exhibit 3
       and 4.
  23
       13. The Subject Design 3 was registered
  24
       with the United States Copyright Office
  25
       on April 30, 2018, and allocated
  26
       Registration VAu-1-330-970. A true and
  27
       correct copy of the Subject Design 3 and
  28

                                                    6
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1    Declaration of Yoel Newman (Dkt.                        Objection             Ruling
   2                   No. 44-1)
   3   the Copyright Registration Certificate
   4   thereof are attached hereto as Exhibit 5
   5   and 6.

   6   14. After the registrations of the new        Fed. R. Evid. 402: Irrelevant;
   7   designs including the Subject Designs,
       Neman Brothers provided samples in the
   8
       forms of swatch (a small piece of fabric),
   9
       hanger (fabric sample with headers), and
  10
       CAD (a piece of paper having the design
  11
       printed upon) to the customers, who are
  12
       primarily garment manufacturers,
  13
       wholesalers and/or importers either
  14   located in, or using the vendors in,
  15   fashion districts in Los Angeles,
  16   Shenzhen, Foshan, Guangzhou, and
  17   Shaoxing cities where most of factories
  18   and mills are located. Neman Brothers on
  19   a constant basis widely circulated the
  20   samples, and sold the fabrics, bearing the

  21   Subject Designs. While Neman Brothers
       give out swatches, hangers and CADs as
  22
       samples for free to potential customers, in
  23
       the case customers order a few yards,
  24
       typically 1-5 yards, in order to make their
  25
       garment samples, Neman Brothers charge
  26
       more or less of $5 dollars per yard,
  27
       depending on the quantity and the fabric
  28

                                                     7
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1    Declaration of Yoel Newman (Dkt.                       Objection                Ruling
   2                   No. 44-1)
   3   type. Neman Brothers also provide
   4   samples using multiple different
   5   colorways for each design. Exhibit 7 is a

   6   true and correct copy of Neman Brothers’

   7   swatch sheet showing multiple different
       colorways of the Subject Design 1.
   8
       15. As shown in the swatch sheet, Neman
   9
       Brothers creates multiple style numbers
  10
       based on kind of fabric, colorways, and
  11
       the design, which is to be used for
  12
       communications with customers and
  13
       vendors. For Subject Design 1, Neman
  14   Brothers used 20335 as part of the style
  15   numbers. While other part of the style
  16   numbers may change depending upon the
  17   fabric type and the colorways, 20335
  18   would be used to specify the design on
  19   the fabric would be the Subject Design 1.
  20   16. Exhibit 8 is a copy of Neman             Fed. R. Evid. 402: Irrelevant;
  21   Brothers sales history records, maintained Fed. R. Evid. 602: Lacks

  22   in the MOD2, a sale record keeping           foundation to testify about other
       system, describing each sale of fabrics      companies; Fed. R. Evid. 802:
  23
       bearing the Subject Design 1, identified
  24                                                Hearsay; Assumes Facts Not in
       as “20335”, to customers in the amount
  25                                                Evidence (U.S. v. Schindler, 614
       of about 143,048 yards for 2 years since
  26                                                F. 2d. 227, 228 (9th Cir. 1980);
       the registration in 2017 until early 2019,
  27                                                Fed. R. Evid. 704: Opinion on
       which typically makes 70,000 to 140,000
  28

                                                    8
               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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   1    Declaration of Yoel Newman (Dkt.                         Objection        Ruling
   2                   No. 44-1)
   3   garments to be sold through retailers          Ultimate Legal Issue.
   4   including national retail stores such as
   5   Rainbow, Macy’s and other online stores.

   6   For example, Byer California is one of

   7   the biggest garment manufacturers in the
       U.S. selling the garments to the national
   8
       retail chains such as Kohl’s, Macy’s, etc.
   9
       and actually used garments to the
  10
       national retail chains such as Kohl’s,
  11
       Macy’s, etc. and actually used on
  12
       multiple occasions in the years of 2017-
  13
       2019 a factory located in Shaoxing City
  14   to make garments out of the Neman
  15   Brother’s fabrics. Exhibit 8. Due to
  16   Interfocus’ infringing activities in 2019
  17   and 2020 of displaying and selling the
  18   Infringing Garments on its website, from
  19   the second half of 2019 and until the

  20   present, Neman Brothers did not receive

  21   the orders for the fabrics bearing the
       Subject Design 1. Given Neman Brothers
  22
       typically sells the fabrics for more or less
  23
       of $3 per yard, its loss of sale from the
  24
       infringement amounts to $214,572 per
  25
       year. At the rate of 30% margin, Neman
  26
       Brothers’ typical margin ratio, it is about
  27
       $71,524 as lost profit per year, as to
  28

                                                      9
               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                        Objection                Ruling
    2                    No. 44-1)
    3   Subject Design 1. Therefore, after
    4   Interfocus infringement, Neman Brothers
    5   lost $143,048 profits for the years of

    6   2020 and 2021.

    7   17. Exhibit 9 is a true and correct copy of   Fed. R. Evid. 402: Irrelevant
        Neman Brothers’ swatch sheet showing
    8
        multiple different colorways of the
    9
        Subject Design 2. For Subject Design 2,
   10
        Neman Brothers used 20419 as part of
   11
        the style numbers.
   12
        18. Exhibit 10 is a copy of Neman             Fed. R. Evid. 402: Irrelevant;
   13
        Brothers sales history records, maintained Fed. R. Evid. 602: Lacks
   14   in the MOD2, a sale record keeping            foundation to testify about other
   15   system, describing each sale of fabrics       companies; Fed. R. Evid. 802:
   16   bearing the Subject Design 2, identified
                                                      Hearsay; Assumes Facts Not in
   17   as “20419”, to customers in the amount
                                                      Evidence (U.S. v. Schindler, 614
   18   of about 48,870 yards for 2 years mainly
                                                      F. 2d. 227, 228 (9th Cir. 1980);
   19   since the registration in 2017 until early
                                                      Fed. R. Evid. 704: Opinion on
   20   2019. Neman Brothers could sell some
                                                      Ultimate Legal Issue.
   21   fabrics in 2020 and 2021 too, but the total

   22   amount compared to prior years, was
        minimal. Due to Interfocus’ infringing
   23
        activities in 2019 and 2020 of displaying
   24
        and selling the Infringing Garments on its
   25
        website, from the second half of 2019
   26
        and until the present, Neman Brothers did
   27
        not receive, except a few, the orders for
   28

                                                      10
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                         Objection                Ruling
    2                   No. 44-1)
    3   the fabrics bearing the Subject Design 2.
    4   Given Neman Brothers typically sells the
    5   fabrics for more or less of $3 per yard, its

    6   loss of sale from the infringement

    7   amounts to $73,305 per year. At the rate
        of 30% margin, it is about $21,991.5 as
    8
        lost profit per year, as to Subject Design
    9
        2. Therefore, after Interfocus
   10
        infringement, Neman Brothers lost
   11
        $43,983 profits for the years of 2020 and
   12
        2021.
   13
        19. Exhibit 11 is a true and correct copy
   14   of Neman Brothers’ swatch sheet
   15   showing multiple different colorways of
   16   the Subject Design 3. For Subject Design
   17   3, Neman Brothers used 21060 as part of
   18   the style numbers. While other part of the
   19   style numbers may change depending
   20   upon the fabric type and the colorways,

   21   21060 would be used to specify the
        design on the fabric would be the Subject
   22
        Design 3.
   23
        20. Exhibit 12 is a copy of Neman              Fed. R. Evid. 402: Irrelevant;
   24
        Brothers sales history records, maintained Fed. R. Evid. 602: Lacks
   25
        in the MOD2, our sales record keeping          foundation to testify about other
   26
        system, describing each sale of fabrics        companies; Fed. R. Evid. 802:
   27
        bearing the Subject Design 3, identified
                                                       Hearsay; Assumes Facts Not in
   28

                                                       11
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                         Objection               Ruling
    2                   No. 44-1)
    3   as “21060”, to customers in the amount         Evidence (U.S. v. Schindler, 614
    4   of about 16,247 yards for 2 years since        F. 2d. 227, 228 (9th Cir. 1980);
    5   the registration in early 2018 until 2019.     Fed. R. Evid. 704: Opinion on
    6   Due to Interfocus’ infringing activities in    Ultimate Legal Issue.
    7   2019 and 2020 of displaying and selling
        the Infringing Garments on its website,
    8
        from the second half of 2019 and until
    9
        the present, Neman Brothers received
   10
        only a few orders for the fabrics bearing
   11
        the Subject Design 3. Given Neman
   12
        Brothers typically sells the fabrics for
   13
        more or less of $3 per yard, its loss of
   14   sale from the infringement amounts to
   15   $24,370.5 per year. At the rate of 30%
   16   margin, it is about $7,311.15 as lost profit
   17   per year, as to Subject Design 3.
   18   21. In 2019, Interfocus infringed upon         Fed. R. Evid. 402: Irrelevant;
   19   Neman Brothers’ copyrights on Subject          Fed. R. Evid. 901, 902:
   20   Design 1, by displaying and selling the        Authentication; Fed. R. Evid.
   21   Maternity Dress (“Prior Infringing             802: Hearsay; Assumes Facts
        Garment 1”) and shown in Exhibit 13.
   22                                                  Not in Evidence (U.S. v.
        Submitted herewith as Exhibit 13 is a
   23                                                  Schindler, 614 F. 2d. 227, 228
        copy of the screenshots from Interfocus’
   24                                                  (9th Cir. 1980); Fed. R. Evid.
        website (patpat.com) and the pictures of
   25                                                  704: Opinion on Ultimate Legal
        the actual garment. Therefore, Neman
   26                                                  Issue.
        Brothers sued Interfocus in 2019 (case
   27
        no. 2:19-cv-10112) (“Prior Case”).
   28

                                                       12
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                       Objection              Ruling
    2                   No. 44-1)
    3   22. Interfocus also displayed and sold       Fed. R. Evid. 402: Irrelevant;
    4   Baby Floral Shirt and Dress (“Prior          Fed. R. Evid. 901, 902:
    5   Infringing Garment 2”) shown in Exhibit      Authentication; Fed. R. Evid.
    6   14. Submitted herewith as Exhibit 14 is a    802: Hearsay; Assumes Facts
    7   copy of the screenshot from Interfocus’
                                                     Not in Evidence (U.S. v.
        website and the pictures of the actual
    8                                                Schindler, 614 F. 2d. 227, 228
        garment. The said garments were also
    9                                                (9th Cir. 1980); Fed. R. Evid.
        litigated in the Prior Case.
   10                                                704: Opinion on Ultimate Legal
   11                                                Issue.
   12   23. The Prior Case settled and the parties   Fed. R. Evid. 402: Irrelevant
   13   executed the settlement agreement            Fed. R. Evid. 403: Undue
   14   (“Prior Settlement Agreement”) as shown Prejudice; Fed. R. Evid. 802:
   15   in Interfocus’ Sealed Exhibit 3 in March Hearsay; U.S. v. Schindler, 614

   16   2020 (Docket no. 39).
                                                     F. 2d. 227, 228 (9th Cir. 1980)
   17                                                Assumes Facts Not in Evidence;
   18                                                Fed. R. Evid. 608: Constitutes
   19                                                Confidential Settlement
   20                                                Negotiations
   21   24. Not long after the Prior Settlement,     Fed. R. Evid. 402: Irrelevant;
   22   on September 4, 2020, I found Interfocus     Fed. R. Evid. 901, 902:
   23   again displayed and sold the same            Authentication; Fed. R. Evid.
   24   Maternity Dress (“Infringing Garment         802: Hearsay; Assumes Facts
   25   1”) in “navy” and “red” colors as shown
                                                     Not in Evidence (U.S. v.
   26   in Exhibits 15 to 18. I ordered and bought
                                                     Schindler, 614 F. 2d. 227, 228
   27   the Infringing Garment 1. Submitted
                                                     (9th Cir. 1980); Fed. R. Evid.
        herewith as Exhibits 15 through 17 are
   28

                                                     13
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                       Objection                Ruling
    2                   No. 44-1)
    3   copies of the screenshots from Interfocus’ 704: Opinion on Ultimate Legal
    4   website (patpat.com) displaying the          Issue.
    5   Infringing Garment 1. The pictures of

    6   Infringing Garment 1 are also submitted

    7   as Exhibits 16 and 18. While the dress in
        the picture of the dress on the screenshot
    8
        in the Prior Case had short sleeves, the
    9
        actual garment I received was sleeveless.
   10
        Exhibit 13. The Infringing Garment 1 I
   11
        found and bought also were sleeveless
   12
        and identical with the dress in the Prior
   13
        Case. Exhibits 15 and 16.
   14   25. The care tags of the Prior Infringing    Fed. R. Evid. 402: Irrelevant
   15   Garment 1 and the Infringing Garment 1       Fed. R. Evid. 403: Undue
   16   however, indicated different Stock           Prejudice; Fed. R. Evid. 602:
   17   Keeping Unit (“SKU”) numbers which           Lack of Personal Knowledge;
   18   means they were from different batches
                                                     Fed. R. Evid. 802: Hearsay; U.S.
   19   of production. Exhibit 39. Submitted
                                                     v. Schindler, 614 F. 2d. 227, 228
   20   herewith as Exhibit 39 is a side-by-side
                                                     (9th Cir. 1980) Assumes Facts
   21   comparison of the care tags of the Prior
                                                     Not in Evidence; Fed. R. Evid.
        Infringing Garment 1 and the Infringing
   22
                                                     901, 902: Authentication; Fed.
        Garment 1. They also had different Lot
   23
        Numbers, different fabric substance ratios R. Evid. 702: Improper Expert
   24
        (75% cotton and 25% polyester v. 100%        Opinion
   25
        cotton), different labels (Interfocus v.
   26
        Shenzhen YS Garment Factory), and
   27
        different production times (201905 v.
   28

                                                     14
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                        Objection                Ruling
    2                   No. 44-1)
    3   202007). Exhibit 39. As it typically takes
    4   a couple of months from sampling to
    5   actual production, the production in July

    6   2020 means Interfocus started the whole

    7   procedure of sampling, ordering,
        reviewing, etc. at least from May 2020,
    8
        which is less than two months after the
    9
        Prior Settlement on March 23, 2020.
   10
        Exhibit 39.
   11
        26. On September 4, 2020, I also found        Fed. R. Evid. 402: Irrelevant
   12
        Interfocus displayed and sold Baby Dress      Fed. R. Evid. 403: Undue
   13
        (Infringing Garment 2) which were using       Prejudice; Fed. R. Evid. 602:
   14   the exact same pattern with the Prior         Lack of Personal Knowledge;
   15   Infringing Garment 2). Exhibit 19.
                                                      Fed. R. Evid. 802: Hearsay; U.S.
   16   Submitted herewith as Exhibit 19 is a
                                                      v. Schindler, 614 F. 2d. 227, 228
   17   screenshot from the Interfocus Website
                                                      (9th Cir. 1980) Assumes Facts
   18   displaying the Infringing Garment 2. I
                                                      Not in Evidence; Fed. R. Evid.
   19   ordered and bought the Infringing
                                                      901, 902: Authentication; Fed.
   20   Garment 2. The pictures of Infringing
        Garment 2 are also submitted as Exhibit       R. Evid. 704: Opinion on
   21
        20.                                           Ultimate Legal Issue.
   22
   23
        27. The side-by-side comparison of the        Fed. R. Evid. 402: Irrelevant
        care tags of the two show that they also      Fed. R. Evid. 403: Undue
   24
        had different SKU numbers, Lot                Prejudice; Fed. R. Evid. 602:
   25
        Numbers, different fabric substance ratios Lack of Personal Knowledge;
   26
        (100% cotton v. 95% cotton and 5%
   27                                                 Fed. R. Evid. 802: Hearsay; U.S.
        polyester), different labels (Interfocus v.
   28                                                 v. Schindler, 614 F. 2d. 227, 228

                                                      15
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                      Objection               Ruling
    2                   No. 44-1)
    3   Foshan SCCQ Trading Lt.), and different     (9th Cir. 1980) Assumes Facts
    4   production times (201901 v. 202007).        Not in Evidence; Fed. R. Evid.
    5   Submitted herewith as Exhibit 40 is a       901, 902: Authentication; Fed.
    6   side-by-side comparison of the care tags    R. Evid. 702: Improper Expert
    7   of the Prior Infringing Garment 2 and the
                                                    Opinion; Fed. R. Evid. 802:
        Infringing Garment 2. Again, as it
    8                                               Hearsay; Fed. R. Evid. 704:
        typically takes a couple of months from
    9                                               Opinion on Ultimate Legal Issue.
        sampling to actual production, the
   10
        production in July 2020 means Interfocus
   11
        started the whole procedure of sampling,
   12
        ordering, reviewing, etc. at least from
   13
        May 2020, which is less than two months
   14   after the Prior Settlement on March 23,
   15   2020. Exhibit 39.
   16   28. In October 2020, I also found another   Fed. R. Evid. 402: Irrelevant
   17   infringing garment called Green Maxi        Fed. R. Evid. 403: Undue
   18   Dress (“Infringing Garment 3”). The         Prejudice; Fed. R. Evid. 602:
   19   screenshots and pictures of Infringing      Hearsay; U.S. v. Schindler, 614
   20   Garment 3 are also submitted as Exhibits
                                                    F. 2d. 227, 228 (9th Cir. 1980)
   21   21 and 22.
                                                    Assumes Facts Not in Evidence;
   22                                               Fed. R. Evid. 901, 902:
   23                                               Authentication; Fed. R. Evid.
   24                                               704: Opinion on Ultimate Legal
   25                                               Issue.
   26   29. The side-by-side comparisons of the     Fed. R. Evid. 402: Irrelevant
   27   Subject Designs and the Infringing          Fed. R. Evid. 403: Undue
   28

                                                    16
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                       Objection                Ruling
    2                   No. 44-1)
    3   Garments reveals they are virtually          Prejudice; Fed. R. Evid. 602:
    4   identical in most of the objective details   Lack of Personal Knowledge;
    5   of the elements forming the designs and      Fed. R. Evid. 802: Hearsay; U.S.
    6   even arrangements of the elements. The       v. Schindler, 614 F. 2d. 227, 228
    7   chance for the two independently created
                                                     (9th Cir. 1980) Assumes Facts
        designs to happen to have the same
    8                                                Not in Evidence; Fed. R. Evid.
        elements identical in details and the same
    9                                                901, 902: Authentication; Fed.
        arrangement of those elements would be
   10                                                R. Evid. 702: Improper Expert
        far less than one in a million, in other
   11                                                Opinion
        words impossible.
   12
        30. Submitted herewith as Exhibit 23 is      Fed. R. Evid. 402: Irrelevant
   13
        the side-by-side comparisons of the          Fed. R. Evid. 403: Undue
   14   Subject Design 1 and the design printed      Prejudice; Fed. R. Evid. 602:
   15   on the Infringing Garment 1. The first       Lack of Personal Knowledge;
   16   page of Exhibit 23 shows most of the
                                                     Fed. R. Evid. 802: Hearsay; U.S.
   17   elements, if not all, on the Infringing
                                                     v. Schindler, 614 F. 2d. 227, 228
   18   Garment 1 are copied from the Subject
                                                     (9th Cir. 1980) Assumes Facts
   19   Design 1. The second page shows the
                                                     Not in Evidence; Fed. R. Evid.
   20   major motif (indicated in red circles)
                                                     901, 902: Authentication; Fed.
   21   having the main elements arranged in a
        certain way are identical while there were R. Evid. 702: Improper Expert
   22
        some crude efforts to give the appearance Opinion; Fed. R. Evid. 704:
   23
        of dissimilarity on the Infringing Design    Opinion on Ultimate Legal Issue.
   24
        1 by taking out a few small leaves or
   25
        flowers. Not only the arrangement, the
   26
        shapes of the flower, flower buds, stems,
   27
        leaves, and color shadings are also the
   28

                                                     17
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                         Objection            Ruling
    2                   No. 44-1)
    3   same. These are not a combination of
    4   generic shapes like triangle, circle, square
    5   or line, but about a very detailed hand-

    6   drawn and intricate description of

    7   flowers, stems, leaves, and their
        arrangement. No designer would not be
    8
        able to draw the design twice in the exact
    9
        same way in such details without seeing
   10
        it and copying it. This part standing alone
   11
        forms an original and protectible element,
   12
        and the Infringing Garment 1 copied it.
   13
        Even the elements describing small
   14   flowers, small leaves, and small stems, as
   15   well as their shapes, shades, locations,
   16   colors, directions and arrangements are
   17   strikingly identical, which cannot
   18   possibly be a coincidence of two
   19   independently created design having such

   20   identities in every details. The second and

   21   the third pages of Exhibit 23 also show
        the remaining elements on Infringing
   22
        Garment 1 were nothing but the result of
   23
        flipping or rotating the elements of the
   24
        Subject Design 1.
   25
        31. The same is true about the Infringing      Fed. R. Evid. 402: Irrelevant
   26
        Garment 2. Submitted herewith as               Fed. R. Evid. 403: Undue
   27
        Exhibit 24 is the side-by-side comparison      Prejudice; Fed. R. Evid. 602:
   28

                                                       18
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                       Objection                Ruling
    2                   No. 44-1)
    3   of the Subject Design 2 and the              Lack of Personal Knowledge;
    4   Infringing Garment 2. On the first page,     Fed. R. Evid. 802: Hearsay; U.S.
    5   the circles in different colors indicate     v. Schindler, 614 F. 2d. 227, 228
    6   which parts are corresponding to each        (9th Cir. 1980) Assumes Facts
    7   other on the two. Exhibit 24. Most of the
                                                     Not in Evidence; Fed. R. Evid.
        elements, if not all, on the Infringing
    8                                                901, 902: Authentication; Fed.
        Garment 2 are from the elements of the
    9                                                R. Evid. 702: Improper Expert
        Subject Design 2. Exhibit 24.
   10                                                Opinion; Fed. R. Evid. 704:
   11                                                Opinion on Ultimate Legal Issue.
   12   32. The second page of Exhibit 24 shows      Fed. R. Evid. 402: Irrelevant
   13   the biggest element as the main motif,       Fed. R. Evid. 403: Undue
   14   circled in red on page 1, are identical in   Prejudice; Fed. R. Evid. 602:
   15   shapes, arrangements, directions, and        Lack of Personal Knowledge;
   16   locations while there were some crude
                                                     Fed. R. Evid. 802: Hearsay; U.S.
   17   efforts to give the appearance of
                                                     v. Schindler, 614 F. 2d. 227, 228
        dissimilarity on some leaves or flowers.
   18                                                (9th Cir. 1980) Assumes Facts
        Such also appear to be the result of
   19                                                Not in Evidence; Fed. R. Evid.
        lowering the printing cost for the
   20                                                901, 902: Authentication; Fed.
        garment’s low pricing by simplifying
   21                                                R. Evid. 702: Improper Expert
        some details and colors of the elements.
   22                                                Opinion; Fed. R. Evid. 704:
        Pages 3, 4 and 5 also show the remaining
   23                                                Opinion on Ultimate Legal Issue.
        elements used on the Infringing Garment
   24   2 are nothing but a rotated or flipped
   25   version of the elements on the Subject
   26   Design 2.
   27
   28

                                                     19
                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1    Declaration of Yoel Newman (Dkt.                        Objection                Ruling
    2                     No. 44-1)
    3   33. Submitted herewith as Exhibit 25 is       Fed. R. Evid. 402: Irrelevant
    4   the side-by-side comparison of the            Fed. R. Evid. 403: Undue
    5   Subject Design 3 and the Infringing           Prejudice; Fed. R. Evid. 602:
    6   Garment 3. The first page again shows         Lack of Personal Knowledge;
    7   the main motifs on the Infringing
                                                      Fed. R. Evid. 802: Hearsay; U.S.
        Garment 3 are copies of the elements on
    8                                                 v. Schindler, 614 F. 2d. 227, 228
        the Subject Design 3. The second page
    9                                                 (9th Cir. 1980) Assumes Facts
        shows all elements of the main motif
   10                                                 Not in Evidence; Fed. R. Evid.
        circled in red on the first page are the
   11                                                 901, 902: Authentication; Fed.
        same as the elements of the Subject
   12                                                 R. Evid. 702: Improper Expert
        Design 3. The third page also shows the
   13                                                 Opinion; Fed. R. Evid. 704:
        remaining elements are in fact a rotated
   14   or flipped version of the element on          Opinion on Ultimate Legal Issue.
   15   Subject Design 3.
   16   34. As discussed above, the comparisons       Fed. R. Evid. 402: Irrelevant
   17   of the care tags of the Prior Infringing      Fed. R. Evid. 403: Undue
   18   Garments 1 and 2 with the same of the         Prejudice; Fed. R. Evid. 602:
   19   Infringing Garments 1 and 2 show the          Lack of Personal Knowledge;
   20   Infringing Garments at issue in this case
                                                      Fed. R. Evid. 802: Hearsay; U.S.
   21   are not part of the prior production of the
                                                      v. Schindler, 614 F. 2d. 227, 228
        Prior Infringing Garments. Exhibits 39-
   22                                                 (9th Cir. 1980) Assumes Facts
        40. It was a new production that
   23                                                 Not in Evidence; Fed. R. Evid.
        happened in July 2020, which procedure
   24                                                 901, 902: Authentication; Fed.
        started from May 2020 which was less
   25                                                 R. Evid. 702: Improper Expert
        than two months after the settlement on
   26                                                 Opinion; Fed. R. Evid. 704:
        March 23, 2020 in the Prior Case.
   27                                                 Opinion on Ultimate Legal Issue.
        Exhibits 39-40.
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1         INTERFOCUS INC. d.b.a. www.patpat.com (“Interfocus”) hereby objects to
    2 and moves to strike portions of the Declaration of Chan Yong Jeong and related
    3 exhibits on the following grounds:
    4     Declaration of Chan Yong Jeong                    Objection              Ruling
    5                   (Dkt. No. 42-2)
    6   I, CHAN YONG JEONG, declare:
    7   1. I am the attorney for Plaintiff/
    8   Cross-defendant Neman Brothers in
    9   this action. I was also the counsel for
   10   Neman Brothers in the prior case
   11   against Interfocus. (“Prior Case”)
   12   2. I am over 18 years of age and have
   13   personal knowledge of each fact stated
   14   in this declaration. If called upon to
   15   testify thereto as a witness, I can and
   16   will testify.
   17   3. This declaration is submitted in
   18   support of Plaintiff’s Motion for
   19   Summary Judgment, and in opposition
   20   to Interfocus Motion for summary
   21   judgment.
   22   4. In this present case, the section 5    Fed. R. Evid. 402: Irrelevant;
   23   using the word “cure” clarifies what      Fed. R. Evid. 403: Undue
   24   the section intended by expressly         Prejudice; Fed. R. Evid. 408:
   25   providing;                                Constitutes Confidential
   26                                             Settlement Negotiations; Fed.
   27                                             R. Evid. 901, 902;
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection              Ruling
    2                 (Dkt. No. 42-2)
    3   “Plaintiff agrees that it will not file a Authentication
    4   lawsuit or lodge a complaint against
    5   Defendant for an alleged infringement
    6   before the expiration of thirty (30) days
    7   after given Defendant Adequate Notice
    8   of the alleged infringement to allow
    9   Parties time to resolve the dispute
   10   amicably.” (Interfocus’ Sealed Exhibit
   11   3 and Redacted Exhibit 2).
   12   5. Obvious is that the Parties agreed       Fed. R. Evid. 402: Irrelevant;
   13   “dispute” remains to be resolved, even Fed. R. Evid. 403: Undue
   14   after the seven business days to            Prejudice; Fed. R. Evid. 408:
   15   “cure”. Interfocus may or may not           Constitutes Confidential
   16   decide there is any infringement and        Settlement Negotiations; Fed.
   17   therefore, it may or may not take down R. Evid. 602: Lacks
   18   the accused garments. With that, the        foundation; Fed. R. Evid. 702;
   19   Parties were to negotiate the               Opinion on an Ultimate Legal
   20   settlement. Interfocus’ Sealed Exhibit      Issue; Fed. R. Evid. 901, 902;
   21   3 and Redacted Exhibit 2.                   Authentication
   22   6. Further, Section 6 also states; 1        Fed. R. Evid. 402: Irrelevant;
   23   The Parties agree to make good faith Fed. R. Evid. 403: Undue
   24   efforts to settle all future disputes (if Prejudice; Fed. R. Evid. 408:
   25   any).   For     instance,   the    Parties Constitutes Confidential
   26   optionally may enter into commercially Settlement Negotiations; Fed.
   27   feasible transactions, such as a license R. Evid. 602: Lacks
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection              Ruling
    2                (Dkt. No. 42-2)
    3   agreement for the sale of the garments foundation; Fed. R. Evid. 702;
    4   bearing      Plaintiff’s   designs      by Opinion on an Ultimate Legal
    5   InterFocus.” Interfocus’ Sealed Exhibit Issue; Fed. R. Evid. 901, 902;
    6   3 and Redacted Exhibit 2.                  Authentication
    7   7. If the Parties really intended “cure”   Fed. R. Evid. 402: Irrelevant;
    8   to mean “complete release from             Fed. R. Evid. 403: Undue
    9   liability by taking down the garments      Prejudice; Fed. R. Evid. 408:
   10   from the website”, Section 6 would         Constitutes Confidential
   11   have not needed at all. The same           Settlement Negotiations; Fed.
   12   settlement agreement in the same           R. Evid. 602: Lacks
   13   section 5 and the subsequent section 6     foundation; Fed. R. Evid. 702;
   14   expressly and clearly state, at least      Opinion on an Ultimate Legal
   15   twice that there would be disputes,        Issue; Fed. R. Evid. 901, 902;
   16   which the parties were to try to settle    Authentication; Fed R. Evid.
   17   in “good faith” “amicably”.                701; Improper Testimony by
   18                                              Lay Witness; Improper Legal
   19                                              Argument
   20   8. The settlement agreement as a           Fed. R. Evid. 402: Irrelevant;
   21   contract is clear as to what the parties   Fed. R. Evid. 403: Undue
   22   intended and what “cure” would mean. Prejudice; Fed. R. Evid. 408:
   23   While “cure” was not a good choice2        Constitutes Confidential
   24   of a word, the parties still made it       Settlement Negotiations; Fed.
   25   clear as to what and how to be done        R. Evid. 602: Lacks
   26   when there would be a subsequent           foundation; Fed R. Evid. 701;
   27   infringement after the execution of the Improper Testimony by Lay
   28

                                                   23
                  INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2                  (Dkt. No. 42-2)
    3   settlement, that is, giving seven          Witness; Improper Legal
    4   business days to Interfocus to take        Argument; Fed. R. Evid. 704:
    5   down the accused garment, taking 30        Improper Legal Conclusions
    6   days to negotiate the settlement, and if
    7   no settlement, Neman Brothers may
    8   file a suit.
    9   9. Even assuming arguendo the above        Fed. R. Evid. 402: Irrelevant;
   10   is still not sufficiently clear but        Fed. R. Evid. 403: Undue
   11   uncertain, the analysis discussed          Prejudice; Fed. R. Evid. 408:
   12   below, pursuant to the applicable          Constitutes Confidential
   13   statutes and the case law, would again     Settlement Negotiations; Fed.
   14   make it clear that Interfocus is playing R. Evid. 602: Lacks
   15   a word game in bad faith.                  foundation; Fed R. Evid. 701;
   16                                              Improper Testimony by Lay
   17                                              Witness; Improper Legal
   18                                              Argument; Fed. R. Evid. 704:
   19                                              Improper Legal Conclusions
   20   10. After receiving Neman Brothers’        Fed. R. Evid. 402: Irrelevant;
   21   cease and desist letter, Interfocus        Fed. R. Evid. 403: Undue
   22   wrote a reply letter on October 5,         Prejudice; Fed. R. Evid. 408:
   23   2021. After confirming “InterFocus         Constitutes Confidential
   24   promptly removed the product listings      Settlement Negotiations; Fed.
   25   at issue”, the letter3 on the second       R. Evid. 802: Hearsay
   26   page stated;
   27
   28

                                                   24
                 INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection              Ruling
    2                (Dkt. No. 42-2)
    3   “As a gesture of good faith and in
    4   accordance with Section 6 of the
    5   parties' Settlement Agreement and
    6   Mutual Release dated March 23, 2020,
    7   InterFocus provides the following
    8   summary information regarding sales
    9   of the articles at issue that were made
   10   on the PatPat platform.” (emphasis
   11   added) Exhibit 33.
   12   11. Submitted herewith as Exhibit 33
   13   is a true and correct copy of Interfocus
   14   Counsel’s Letter dated October 5,
   15   2020.
   16   12.The same letter at the end also          Fed. R. Evid. 402: Irrelevant;
   17   stated;                                     Fed. R. Evid. 403: Undue
   18   “InterFocus has removed the product         Prejudice; Fed. R. Evid. 408:
   19   listings identified in your letter and is   Constitutes Confidential
   20   further prepared to pay to your client      Settlement Negotiations; Fed.
   21   its entire profit [amount redacted]         R. Evid. 802: Hearsay
   22   from sales of the articles at issue.
   23   Please let us know if you agree.”
   24   (emphasis added) Exhibit 33.
   25   13.In addition, in the subsequent           Fed. R. Evid. 402: Irrelevant;
   26   negotiations, Interfocus indicated          Fed. R. Evid. 403: Undue
   27   again that Interfocus knew what             Prejudice; Fed. R. Evid. 408:
   28

                                                    25
                  INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2               (Dkt. No. 42-2)
    3   Sections 5 and 6 meant and that “cure” Constitutes Confidential
    4   did not mean release from                  Settlement Negotiations; Fed.
    5   infringement liabilities. In emails on     R. Evid. 602: Lacks
    6   September 18, 2020 and September           foundation; Fed R. Evid. 701;
    7   29, 2020, Neman Brothers’ counsel          Improper Testimony by Lay
    8   Mr. Jeong wrote “Please email me the       Witness; Improper Legal
    9   records of purchase and sale so that       Argument; Fed. R. Evid. 704:
   10   we can discuss the settlement” and         Improper Legal Conclusions;
   11   “10/15 is the last day we can settle by,   Fed. R. Evid. 802: Hearsay
   12   before filing a lawsuit. I did not
   13   receive any sale/purchase records.”
   14   Exhibit 31. Submitted herewith as
   15   Exhibit 31 is a true and correct copy of
   16   Emails exchanged for settlement
   17   discussions, dated September 18 and
   18   September 29, 2020.
   19   14.In response, Interfocus counsel         Fed. R. Evid. 402: Irrelevant;
   20   wrote “We have compiled the sales          Fed. R. Evid. 403: Undue
   21   information and are preparing a            Prejudice; Fed. R. Evid. 408:
   22   response to you.” Exhibit 31.              Constitutes Confidential
   23                                              Settlement Negotiations; Fed.
   24                                              R. Evid. 802: Hearsay
   25
   26   15.After receiving from Neman              Fed. R. Evid. 402: Irrelevant;
   27   Brothers’ counsel the counteroffer         Fed. R. Evid. 403: Undue
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection             Ruling
    2                (Dkt. No. 42-2)
    3   with the arguments about Interfocus’       Prejudice; Fed. R. Evid. 408:
    4   willful infringement liability under       Constitutes Confidential
    5   Unicolors, Inc. v. UrbanOutfitters,        Settlement Negotiations; Fed.
    6   Inc., 853 F.3d 980, 991-92 (9th Cir.       R. Evid. 602: Lacks
    7   2019) (Exhibit 32), Interfocus counsel     foundation; Fed R. Evid. 701;
    8   Mr. David Yang stated “InterFocus          Improper Testimony by Lay
    9   has already taken down the items           Witness; Improper Legal
   10   identified in your letter. There is thus   Argument; Fed. R. Evid. 704:
   11   no need for your client to rush to file a Improper Legal Conclusions;
   12   new lawsuit. With all due respect, we      Fed. R. Evid. 802: Hearsay
   13   would consider a rush to the
   14   courthouse to be inconsistent with the
   15   two sides' agreement to make good
   16   faith efforts to settle their future
   17   disputes.” Exhibit 34. He also wrote to
   18   suggest “to negotiate a business deal
   19   rather than to have the two sides waste
   20   time and money on litigation” and
   21   then, suggested to combine the
   22   settlement with the license deal to fill
   23   the gap of the offered amounts
   24   between the parties. Exhibit 34.
   25   Submitted herewith as Exhibits 32 and
   26   34 are a true and correct copy of the
   27   Emails exchanged for settlement
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2                (Dkt. No. 42-2)
    3   discussions, dated October 5 and
    4   October 6, 2020.
    5   16.On November 12, 2020, the               Fed. R. Evid. 402: Irrelevant;
    6   counsels for the parties had a             Fed. R. Evid. 403: Undue
    7   telephone conversation, and next day,      Prejudice; Fed. R. Evid. 408:
    8   Ms. Chen wrote “Nice talking to you        Constitutes Confidential
    9   yesterday. I look forward to (1) the       Settlement Negotiations; Fed.
   10   proposed settlement agreement, and         R. Evid. 802: Hearsay
   11   (2) example Neman Brothers' design
   12   files.” Exhibit 35. Submitted herewith
   13   as Exhibit 35 is a true and correct copy
   14   of Email from Interfocus Counsel
   15   asking for a Settlement Agreement
   16   draft dated November 13, 2020.
   17   17.At the said teleconference, the         Fed. R. Evid. 402: Irrelevant;
   18   parties reached an agreement on the        Fed. R. Evid. 403: Undue
   19   amount and major terms of the              Prejudice; Fed. R. Evid. 408:
   20   licensing. Neman Brothers’ counsel         Constitutes Confidential
   21   then sent a settlement draft by making     Settlement Negotiations; Fed.
   22   changes to the prior settlement            R. Evid. 802: Hearsay
   23   agreement putting the agreed upon
   24   amount and adding the terms of the
   25   licensing.
   26   18.The draft provided;                     Fed. R. Evid. 402: Irrelevant;
   27                                              Fed. R. Evid. 403: Undue
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                       Objection             Ruling
    2                (Dkt. No. 42-2)
    3   WHEREAS, on or about, September Prejudice; Fed. R. Evid. 408:
    4   15, 2020, Plaintiff served a cease-and- Constitutes Confidential
    5   desist letter to Defendant [Interfocs] Settlement Negotiations; Fed.
    6   pursuant to section 5 of the prior R. Evid. 802: Hearsay
    7   settlement         agreement      (“Prior
    8   Settlement Agreement”) executed in
    9   March      2020,     regarding    certain
   10   garments     displayed    and    sold   at
   11   Defendant's website. www.patpat.com
   12   ("Website") which Plaintiff believed to
   13   have infringed upon its copyrights for
   14   certain designs as specified therein (the
   15   "Dispute"); WHEREAS, the Parties
   16   now desire to resolve all disputes. and
   17   enter a Licensing agreement between
   18   them in an orderly manner… Exhibit
   19   36.
   20   19.Submitted herewith as Exhibit 36 is Fed. R. Evid. 402: Irrelevant;
   21   a true and correct copy of the First         Fed. R. Evid. 403: Undue
   22   Draft of the Settlement Agreement            Prejudice; Fed. R. Evid. 408:
   23   Negotiated between Neman Brothers            Constitutes Confidential
   24   and Interfocus (not executed).               Settlement Negotiations; Fed.
   25                                                R. Evid. 602; Fed. R. Evid.
   26                                                802: Hearsay
   27
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                   Objection               Ruling
    2               (Dkt. No. 42-2)
    3   20.In returning the draft after their    Fed. R. Evid. 402: Irrelevant;
    4   review, Interfocus did not make any      Fed. R. Evid. 403: Undue
    5   change to the above “Whereas”            Prejudice; Fed. R. Evid. 408:
    6   clauses or the amount while making       Constitutes Confidential
    7   changes to the terms of the licensing.   Settlement Negotiations; Fed.
    8   Exhibit 37. Submitted herewith as        R. Evid. 802: Hearsay; Parol
    9   Exhibit 37 is a true and correct copy of Evidence Rule (EPA Real
   10   the Final Draft of the Settlement        Estate Partnership v. Kang,
   11   Agreement Negotiated between             12 Cal.App.4th 171, 175
   12   Neman Brothers and Interfocus (not       (1992)
   13   executed). As this time, the new
   14   settlement was to include the
   15   licensing, the sections 5 and 6 from
   16   the prior settlement agreement were
   17   mostly deleted. Exhibit 37. In the
   18   course of the negotiations, Neman
   19   Brothers in good faith emailed
   20   multiple designs and its copyright
   21   registrations for Interfocus’ review.
   22   However, in the end, after wasting two
   23   months until November 2020,
   24   Interfocus refused to sign the
   25   settlement with no explanation.
   26   21.NEVER did Interfocus argued that      Fed. R. Evid. 402: Irrelevant;
   27   all of the copyright infringement were   Fed. R. Evid. 403: Undue
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                       Objection              Ruling
    2                (Dkt. No. 42-2)
    3   “cured”, throughout the whole                Prejudice; Fed. R. Evid. 408:
    4   negotiation from September 15 until          Constitutes Confidential
    5   November 18, 2020. Rather,                   Settlement Negotiations; Fed.
    6   Interfocus knew what it agreed to, and       R. Evid. 802: Hearsay; Fed R.
    7   did negotiate the settlement pursuant        Evid. 701; Improper
    8   to Sections 5 and 6 of the prior             Testimony by Lay Witness;
    9   settlement agreement. It was only after Fed. R. Evid. 602: Lacks
   10   this lawsuit was filed and the new           foundation to testify as to
   11   counsel Mr. Mark Lee appeared in this what Interfocus knew
   12   case, when Interfocus at a sudden
   13   started making the frivolous argument
   14   for “cure”, which is nothing but a
   15   word play.
   16   22.When settling the Prior Case, Ms.         Fed. R. Evid. 402: Irrelevant;
   17   Chen for Interfocus made the first           Fed. R. Evid. 403: Undue
   18   draft. Exhibit 26. In her first draft, she   Prejudice; Fed. R. Evid. 408:
   19   stated at the end of Section 5 “Plaintiff Constitutes Confidential
   20   further agrees not to seek further           Settlement Negotiations; Fed.
   21   remedies including legal remedies            R. Evid. 802: Hearsay; Fed R.
   22   once Defendant has cured the alleged         Evid. 701; Improper
   23   infringement by removing the                 Testimony by Lay Witness;
   24   allegedly infringed products and/or          Improper Legal Argument;
   25   designs…” (emphasis added) Exhibit           Fed. R. Evid. 704: Improper
   26   26. Then, Neman Brothers’ counsel            Legal Conclusions
   27   deleted the said part, and added to the
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection              Ruling
    2               (Dkt. No. 42-2)
    3   end of Section 6 to limit the scope of
    4   the release “…to the extent it relates to
    5   the past sale of the garments by
    6   Interfocus, shown in Exhibits C-1
    7   through C-7 attached to the complaint
    8   (Docket No. 1) in the Action as of
    9   11/26/2019.” Exhibit 27, sections 5
   10   and 7. Submitted herewith as Exhibit
   11   27 is a true and correct copy of the
   12   Email from Neman Brothers Counsel
   13   with Settlement Draft 2 in the Prior
   14   Case.
   15   23.Then, Ms. Chen again put in the          Fed. R. Evid. 402: Irrelevant;
   16   draft “Plaintiff further agrees that for    Fed. R. Evid. 403: Undue
   17   any infringement incurred after the         Prejudice; Fed. R. Evid. 408:
   18   Effective Date, Defendant's legal           Constitutes Confidential
   19   obligation is limited to (1) removing       Settlement Negotiations; Fed.
   20   any infringing products and/or design       R. Evid. 802: Hearsay
   21   from its website and social media
   22   account within the time limit as
   23   specified in this Agreement; and (2)
   24   providing Plaintiff all profit made by
   25   Defendant relating to the infringed
   26   products and/or designs.” (emphasis
   27   added) Exhibit 28, section 5.
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2               (Dkt. No. 42-2)
    3   Submitted herewith as Exhibit 28 is a
    4   true and correct copy of the Email
    5   from Interfocus Counsel with
    6   Settlement Draft 3 in the Prior Case.
    7   24.Interfocus accepted the addition to     Fed. R. Evid. 402: Irrelevant;
    8   Section 6. Exhibit 28, section 6. Mr.      Fed. R. Evid. 403: Undue
    9   Jeong again deleted Ms. Chen’s             Prejudice; Fed. R. Evid. 408:
   10   addition, and in his email stated          Constitutes Confidential
   11   “Plaintiff will not waive any rights       Settlement Negotiations; Fed.
   12   about the future actions if any. We        R. Evid. 802: Hearsay
   13   never do that unless Defendant pays
   14   more for it. If your client can pay
   15   100k, my client can give an unlimited
   16   license to use the designs to sell the
   17   garments through Patpat website.
   18   Otherwise, there is no reason for
   19   Plaintiff to waive its right to sue your
   20   client for future infringements.”
   21   (emphasis added) Exhibit 29.
   22   Submitted herewith as Exhibit 29 is a
   23   true and correct copy of the Email
   24   from Neman Brothers Counsel with
   25   Settlement Draft in the Prior Case.
   26   25.Interfocus accepted the changes.        Fed. R. Evid. 402: Irrelevant;
   27   Exhibit 30. Submitted herewith as          Fed. R. Evid. 403: Undue
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
Case 2:20-cv-11181-CAS-JPR Document 48 Filed 08/02/21 Page 34 of 50 Page ID #:934




    1     Declaration of Chan Yong Jeong                     Objection             Ruling
    2               (Dkt. No. 42-2)
    3   Exhibit 30 is a true and correct copy of Prejudice; Fed. R. Evid. 408:
    4   the Email from Interfocus Counsel          Constitutes Confidential
    5   approving the Final Draft of the           Settlement Negotiations; Fed.
    6   Settlement Agreement in the Prior          R. Evid. 802: Hearsay
    7   Case.
    8   26.As stated in the email, there was no Fed. R. Evid. 402: Irrelevant;
    9   special circumstances to give              Fed. R. Evid. 403: Undue
   10   Interfocus a de facto permanent and        Prejudice; Fed. R. Evid. 408:
   11   unlimited license to use Neman             Constitutes Confidential
   12   Brothers’ design until it gets caught      Settlement Negotiations; Fed.
   13   without having to pay any damages.         R. Evid. 802: Hearsay; Fed R.
   14   The Prior Case was one of the typical      Evid. 701; Improper
   15   copyright infringement cases, and the      Testimony by Lay Witness;
   16   Settlement Funds to be paid was not        Improper Legal Argument;
   17   big enough to cover such a de facto        Fed. R. Evid. 704: Improper
   18   license to Interfocus. Given the above, Legal Conclusions
   19   from the time of negotiating the
   20   agreement, and even thereafter,
   21   receiving the cease and desist letter on
   22   September 15, 2020, throughout the
   23   whole time, it was very clear between
   24   the parties, there was no release
   25   whatsoever as to the future
   26   infringements subsequent to March
   27   2020.
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection            Ruling
    2               (Dkt. No. 42-2)
    3   27.Interfocus’ interpretation of “cure”, Fed. R. Evid. 402: Irrelevant;
    4   if followed, would result in that no      Fed. R. Evid. 403: Undue
    5   matter how many infringements for         Prejudice; Fed. R. Evid. 408:
    6   how much and how often, Interfocus        Constitutes Confidential
    7   would be fine as long as it takes down    Settlement Negotiations; Fed.
    8   the accused garments within seven         R. Evid. 802: Hearsay; Fed R.
    9   business days after receiving the         Evid. 701; Improper
   10   Neman Brothers’ notice. It only paid      Testimony by Lay Witness;
   11   $15,000 for a settlement of a litigation, Improper Legal Argument;
   12   which Interfocus claims to be the         Fed. R. Evid. 704: Improper
   13   payment for a de facto permanent and      Legal Conclusions
   14   unlimited license to use for sale on
   15   their website until the time it gets
   16   caught.5 If followed, it would be a
   17   forfeiture of Neman Brothers’ rights to
   18   take necessary actions to protect its
   19   copyrights and seek damages provided
   20   by the U.S. Copyrights Acts.
   21   28.As discussed above, in the course      Fed. R. Evid. 402: Irrelevant;
   22   of the negotiations, Neman Brothers in Fed. R. Evid. 403: Undue
   23   good faith tried to settlement the        Prejudice
   24   matters by even combining it with a
   25   licensing. It even emailed multiple
   26   designs and its copyright registrations
   27   for Interfocus’ review. However, in
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                   Objection               Ruling
    2               (Dkt. No. 42-2)
    3   the end, after wasting two months
    4   until November 2020, Interfocus
    5   refused to sign the settlement with no
    6   explanation.
    7   29.The above made it clear Interfocus    Fed. R. Evid. 402: Irrelevant;
    8   was playing only a delay game with       Fed. R. Evid. 403: Undue
    9   no good faith efforts to settle and      Prejudice; Fed. R. Evid. 802:
   10   would do the same even if Neman          Hearsay; Fed R. Evid. 701;
   11   Brothers starts over with the issue of   Improper Testimony by Lay
   12   the Infringing Garment 3, which          Witness; Improper Legal
   13   would be nothing but a waste of time     Argument; Fed. R. Evid. 704:
   14   only to repeat the same discussion that Improper Legal Conclusions
   15   Interfocus frustrated. It forms a
   16   material breach as to the Infringing
   17   Garments 1 and 2, and a repudiation as
   18   to the Infringing Garment 3.
   19   30.Infringing Garment 3 was found in     Fed. R. Evid. 402: Irrelevant;
   20   October 2021, and was discussed and      Fed. R. Evid. 403: Undue
   21   agreed to be covered by Section 8        Prejudice; Fed. R. Evid. 408:
   22   (Mutual Release) of the final draft of   Constitutes Confidential
   23   the subsequent settlement which          Settlement Negotiations; Fed.
   24   specified the release to be given to     R. Evid. 802: Hearsay; Fed R.
   25   Interfocus to the extent it relates to the Evid. 701; Improper
   26   past sale of the garments through the    Testimony by Lay Witness;
   27   Website on or before the Effective       Improper Legal Argument;
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
Case 2:20-cv-11181-CAS-JPR Document 48 Filed 08/02/21 Page 37 of 50 Page ID #:937




    1     Declaration of Chan Yong Jeong                       Objection              Ruling
    2                 (Dkt. No. 42-2)
    3   Date, which was defined to be the full       Fed. R. Evid. 704: Improper
    4   execution date in November 2020.             Legal Conclusions
    5   Exhibit 37.
    6   31.As Interfocus complained of it,           Fed. R. Evid. 402: Irrelevant;
    7   Neman Brothers’ counsel offered to           Fed. R. Evid. 403: Undue
    8   voluntarily dismiss without prejudice        Prejudice; Fed. R. Evid. 408:
    9   the claim on the Infringing Garment 3        Constitutes Confidential
   10   and start over the procedure under           Settlement Negotiations; Fed.
   11   Sections 5 and 6 as to the Infringing        R. Evid. 802: Hearsay
   12   Garment 3, but Interfocus also refused
   13   to do so. On February 2, 2021, when
   14   Mr. Mark Lee contacted Mr. Jeong for
   15   the first time to request a stipulation to
   16   extend the due date to file the answer,
   17   and until the time of filing the answer
   18   and the counterclaim on February 19,
   19   2020 (Dockets 17 and 18), Mr. Lee
   20   never attempted to confer on the issue
   21   of Infringing Garment 3. After filing
   22   the pleadings, Mr. Lee refused to
   23   stipulate to the dismissal of the related
   24   claim without prejudice.
   25   32.Interfocus’ argument based on the         Fed. R. Evid. 402: Irrelevant;
   26   case against One Step Up (“OSU               Fed. R. Evid. 403: Undue
   27   Matter”) is misplaced and off the            Prejudice; Fed. R. Evid. 802:
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2               (Dkt. No. 42-2)
    3   points of this case. In the OSU Matter, Hearsay; Fed R. Evid. 701;
    4   as the court’s ruling clearly stated the   Improper Testimony by Lay
    5   settlement agreement at issue provided Witness; Improper Legal
    6   a release to the OSU to the extent it      Argument; Fed. R. Evid. 704:
    7   was specified in Section 2. Exhibit 38, Improper Legal Conclusions
    8   p. 5 of 8. Submitted herewith as
    9   Exhibit 38 is a true and correct copy of
   10   the Ruling on the MSJ in Neman
   11   Brothers v. One Step Up (2:17-cv-
   12   6400-RGK-SS).
   13   33.The said agreement stated the           Fed. R. Evid. 402: Irrelevant;
   14   release applies to “all claims that        Fed. R. Evid. 403: Undue
   15   Neman Brothers "may have in                Prejudice; Fed. R. Evid. 408:
   16   com1ection with any conduct                Constitutes Confidential
   17   involving the Accused Ga1ments, to         Settlement Negotiations; Fed.
   18   the extent such conduct pe1tains to the R. Evid. 802: Hearsay; Fed R.
   19   goods set forth or described in Section Evid. 701; Improper
   20   2 above .... " Exhibit 38, p. 5 of 8.      Testimony by Lay Witness;
   21   Therefore, the question was whether        Improper Legal Argument;
   22   the accused garments at issue were         Fed. R. Evid. 704: Improper
   23   part of the 18,400 garments specified      Legal Conclusions
   24   in Section 2. Exhibit 38, p. 5-6 of 8.
   25
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                 Objection                 Ruling
    2               (Dkt. No. 42-2)
    3   34.In this case, however, the release
    4   was given “to the extent it relates to
    5   the past sale of the garments by
    6   InterFocus, shown in Exhibits C-1
    7   through C-7 attached to the complaint
    8   (Docket No. 1) in the Action filed on
    9   11/26/2019.” Defendant’s Redacted
   10   Exhibit 2, Section 7. The prior
   11   settlement agreement was executed as
   12   of March 2020. Defendant’s Redacted
   13   Exhibit 2, Section 7. Therefore, the
   14   question is whether the Infringing
   15   Garments sold after March 2020. As
   16   admitted in Interfocus counsel’s letter
   17   in October 2020, the said garments
   18   were uploaded for sale after March
   19   2020 and until September 2020:
   20   Infringing Garment 1 (both navy and
   21   red) on July 1, 2020, Infringing
   22   Garment 2 on June 19, 2020. Exhibit
   23   33, p.2-3. As discussed above, the
   24   Infringing Garment 3 was on the
   25   Interfocus Website as of October 2020
   26   so that Neman Brothers could actually
   27   purchase the garment. Exhibit 22, p.2.
   28

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                    Objection              Ruling
    2               (Dkt. No. 42-2)
    3   Further, one of the caretags showing
    4   the production information indicated
    5   “Made in China 202008”.
    6   Accordingly, the pending claims in
    7   this case are not barred by the release
    8   that was applicable to the sale in or
    9   before March 2020.
   10   35.Interfocus failed to present any       Fed. R. Evid. 402: Irrelevant;
   11   evidence for such rebuttal, rather, the   Fed. R. Evid. 403: Undue
   12   evidence below strongly show that NB Prejudice; Fed. R. Evid. 802:
   13   owns the Subject Design. For              Hearsay; Fed R. Evid. 701;
   14   example, in response to the               Improper Testimony by Lay
   15   interrogatories asking about              Witness; Improper Legal
   16   Interfocus’ or its vendor’s independent Argument; Fed. R. Evid. 704:
   17   creation and any prior work,              Improper Legal Conclusions
   18   Interfocus stated only “it is informed
   19   and believes the designs at issue are
   20   very similar to independently created
   21   pre-existing designs…” which has no
   22   evidentiary value at all. (emphasis
   23   added) Exhibit 42, Responses to
   24   Interrogatories No. 1-5. Submitted
   25   herewith as Exhibit 42 is a true and
   26   correct copy of Interfocus’ responses
   27   to the Interrogatories (Set One).
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                   Objection                Ruling
    2                (Dkt. No. 42-2)
    3   Further, Interfocus never produced
    4   any facts, or documents supporting
    5   such information or belief in the
    6   discovery.
    7   36.Interfocus response to Interrogatory Fed. R. Evid. 402: Irrelevant;
    8   6 admits that in the ordinary            Fed. R. Evid. 403: Undue
    9   procedures, Interfocus orders the        Prejudice; Fed. R. Evid. 802:
   10   garments it likes after it reviews the   Hearsay; Fed R. Evid. 701;
   11   sample pictures, and do the quality      Improper Testimony by Lay
   12   inspection, and start sales of the       Witness; Improper Legal
   13   garments.                                Argument; Fed. R. Evid. 704:
   14                                            Improper Legal Conclusions
   15   37.Interfocus further admitted it        Fed. R. Evid. 402: Irrelevant;
   16   controlled the display procedure of the Fed. R. Evid. 403: Undue
   17   garments by stating Interfocus’          Prejudice; Fed. R. Evid. 802:
   18   vendors do not upload the information    Hearsay; Fed R. Evid. 701;
   19   relating to the Infringing Garments.     Improper Testimony by Lay
   20   Exhibit 42, Responses to Interrogatory Witness; Improper Legal
   21   No. 7.                                   Argument; Fed. R. Evid. 704:
   22                                            Improper Legal Conclusions
   23   38.The above clearly shows Interfocus Fed. R. Evid. 402: Irrelevant;
   24   soon after signing the Prior Settlement Fed. R. Evid. 403: Undue
   25   Agreement on March 23, 2020,             Prejudice; Fed. R. Evid. 802:
   26   promptly started the sampling            Hearsay; Fed R. Evid. 701;
   27   procedure, reviewed the samples of       Improper Testimony by Lay
   28

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                 INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                    Objection                Ruling
    2                (Dkt. No. 42-2)
    3   the Infringing Garments 1 and 2,          Witness; Improper Legal
    4   ordered them again as Interfocus liked    Argument; Fed. R. Evid. 704:
    5   it in May 2020 (Exhibits 39 and 40),      Improper Legal Conclusions
    6   uploaded the garment pictures with the
    7   information on the website on July 1,
    8   2020 for Infringing Garment 1 and
    9   June 19, 2020 for Infringing Garment
   10   2 and sold them until September 16,
   11   2020. Exhibit 33. Even worse, it
   12   turned out the Interfocus continued to
   13   sell the Prior Infringing Garment 1 and
   14   the Prior Infringing Garment 2 even
   15   after the Prior Settlement until
   16   September 2020. Exhibit 33.
   17   39.The above shows it is undisputed       Fed. R. Evid. 402: Irrelevant;
   18   soon after the settlement of the Prior    Fed. R. Evid. 403: Undue
   19   Case where the Subject Designs 1 and      Prejudice; Fed. R. Evid. 802:
   20   2 were litigated, Interfocus again        Hearsay; Fed R. Evid. 701;
   21   reviewed, chose, ordered, uploaded,       Improper Testimony by Lay
   22   displayed and sold the Infringing         Witness; Improper Legal
   23   Garments 1 and 2, which sufficiently      Argument; Fed. R. Evid. 704:
   24   establishing copying after the actual     Improper Legal Conclusions
   25   access.
   26   40.Even as to Subject Design 3,           Fed. R. Evid. 402: Irrelevant;
   27   Interfocus should be found to be a        Fed. R. Evid. 403: Undue
   28

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                  INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                     Objection              Ruling
    2               (Dkt. No. 42-2)
    3   willful infringer under Unicolors v.       Prejudice; Fed. R. Evid. 802:
    4   Urban Outfitters. In response to the       Hearsay; Fed R. Evid. 701;
    5   interrogatory asking about preventive      Improper Testimony by Lay
    6   measures Interfocus has taken,             Witness; Improper Legal
    7   Interfocus stated Interfocus takes         Argument; Fed. R. Evid. 704:
    8   down the garments after receiving          Improper Legal Conclusions
    9   notices, which is not a “preventive”
   10   measure at all. Exhibit 42, Response to
   11   Interrogatory No. 18. Interfocus also
   12   stated in its response that it requires
   13   vendors to license its intellectual
   14   property to Interfocus. Again, it at the
   15   best means only if a vendor has an
   16   intellectual property, it would have to
   17   license it to Interfocus, which has
   18   nothing do to with reasonable
   19   preventive measure such as checking
   20   on the source of the design on the
   21   samples when reviewing and before
   22   making an order.
   23   41.In the discovery, Interfocus never      Fed. R. Evid. 402: Irrelevant;
   24   produced any evidence showing such         Fed. R. Evid. 403: Undue
   25   reasonable efforts. The sampling           Prejudice; Fed. R. Evid. 802:
   26   procedure explained in Interfocus          Hearsay; Fed R. Evid. 701;
   27   responses in fact admits it simply         Improper Testimony by Lay
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1     Declaration of Chan Yong Jeong                      Objection              Ruling
    2               (Dkt. No. 42-2)
    3   review, like and then order. Exhibit        Witness; Improper Legal
    4   42, Response to Interrogatory No. 6.        Argument; Fed. R. Evid. 704:
    5   There is no checking on copyright           Improper Legal Conclusions
    6   issues. Rather, even after knowing on
    7   the copyright issues, Interfocus would
    8   dare to order again, and display and
    9   sell online again. It is exactly what the
   10   Nineth Circuit Court called “willful
   11   blindness”, “reckless policy”, and “no
   12   attempt to check or inquire” into
   13   copyright isues.
   14   42.In this case, Interfocus produced        Fed. R. Evid. 402: Irrelevant;
   15   only a self-serving chart made after        Fed. R. Evid. 403: Undue
   16   receiving the cease-and-desist letter in    Prejudice; Fed. R. Evid. 802:
   17   September 2020, in anticipation of a        Hearsay; Fed R. Evid. 701;
   18   litigation, which is nothing but a          Improper Testimony by Lay
   19   hearsay. In response to the                 Witness; Improper Legal
   20   interrogatories asking for accounting       Argument; Fed. R. Evid. 704:
   21   the total sales, earnings and costs,        Improper Legal Conclusions
   22   Interrogatory stated it would produce
   23   charts. Exhibit 42, Responses to
   24   Interrogatories 11 and 12. Interfocus n
   25   business records, such as purchase
   26   order, invoice, or sales reports from
   27   the sales record keeping system ever
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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1        Declaration of Chan Yong Jeong               Objection                 Ruling
    2                (Dkt. No. 42-2)
    3   produced any real business records,
    4   such as purchase order, invoice, or
    5   sales reports from the sales record
    6   keeping system.
    7
    8          INTERFOCUS INC. d.b.a. www.patpat.com (“Interfocus”) also objects to
    9 and moves to strike the following exhibits:
   10
                   Exhibit No.                            Objection                 Ruling
   11
       1.   NB161106 (“Subject Design
   12       1”)
   13 2.    Copyright Registration of
   14       Subject Design 1
        3.      NB170268 (“Subject Design 2”)
   15
        4.      Copyright Registration of
   16
                Subject Design 2
   17   5.      NB180228 (“Subject Design 3”)
   18   6.      Copyright Registration of
   19           Subject Design 3
   20   7.      Swatch Sheet of the Subject
                Design 1
   21
        8.      Sales Records of the Subject    Fed. R. Evid. 802: Hearsay
   22           Design 1
   23   9.      Swatch Sheet of the Subject
                Design 2
   24
        10.     Sales Records of the Subject    Fed. R. Evid. 802: Hearsay
   25           Design 2
   26   11.     Swatch Sheet of the Subject
   27           Design 3

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                 INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1                Exhibit No.                          Objection                Ruling
    2   12.   Sales Records of the Subject      Fed. R. Evid. 802: Hearsay
    3         Design 3
        13.   Navy Floral Dress from the        Fed. R. Evid. 402:   Irrelevant;
    4         Prior Action (2:19-CV-10112)      Fed. R. Evid. 403:   Undue
    5                                           Prejudice
        14.   Cold Shoulder Baby Shirt and      Fed. R. Evid. 402:   Irrelevant;
    6
              Baby Floral Dress from the        Fed. R. Evid. 403:   Undue
    7         Prior Action                      Prejudice
    8   15.   Interfocus Webpage displaying     Fed. R. Evid. 901, 902:
              the Maternity Round Collar        Authentication; Fed. R. Evid.
    9                                           802: Hearsay; Fed. R. Evid.
              Floral Sleeveless Dress
   10         (“Infringing Garment 1”) (navy)   704: Improper Legal
                                                Conclusions
   11                                           Fed. R. Evid. 901, 902:
        16.   Pictures of the Infringing
   12         Garment 1 (navy)                  Authentication; Fed. R. Evid.
                                                802: Hearsay; Fed. R. Evid.
   13                                           704: Improper Legal
   14                                           Conclusions
        17.   Interfocus Webpage displaying     Fed. R. Evid. 901, 902:
   15
              the Infringing Garment 1 (red)    Authentication; Fed. R. Evid.
   16                                           802: Hearsay; Fed. R. Evid.
                                                704: Improper Legal
   17
                                                Conclusions
   18   18.   Pictures of the Infringing        Fed. R. Evid. 901, 902:
              Garment 1 (red)                   Authentication; Fed. R. Evid.
   19
                                                802: Hearsay; Fed. R. Evid.
   20                                           704: Improper Legal
                                                Conclusions
   21
        19.   Interfocus Webpage displaying     Fed. R. Evid. 901, 902:
   22         the Toddler Girl Floral Dress     Authentication; Fed. R. Evid.
   23         (Infringing Garment 2)            802: Hearsay; Fed. R. Evid.
                                                704: Improper Legal
   24                                           Conclusions
   25   20.   Pictures of the Infringing        Fed. R. Evid. 901, 902:
              Garment 2                         Authentication; Fed. R. Evid.
   26                                           802: Hearsay; Fed. R. Evid.
   27                                           704: Improper Legal
                                                Conclusions
   28

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               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1               Exhibit No.                         Objection                 Ruling
    2   21.   Interfocus Webpage displaying   Fed. R. Evid. 901, 902:
    3         the Maternity V-neck Dress      Authentication; Fed. R. Evid.
              (Infringing Garment 3)          802: Hearsay; Fed. R. Evid.
    4                                         704: Improper Legal
    5                                         Conclusions
        22.   Pictures of the Infringing      Fed. R. Evid. 901, 902:
    6                                         Authentication; Fed. R. Evid.
              Garment 3
    7                                         802: Hearsay; Fed. R. Evid.
                                              704: Improper Legal
    8                                         Conclusions
    9   23.   Side-by-side Comparison         Fed. R. Evid. 901, 902:
              between Subject Design 1 and    Authentication; Fed. R. Evid.
   10                                         802: Hearsay; Fed. R. Evid.
              Infringing Garment 1
   11                                         704: Improper Legal
                                              Conclusions; Fed. R. Evid.
   12                                         702: Improper Expert
   13                                         Opinion
        24.   Side-by-side Comparison         Fed. R. Evid. 901, 902:
   14                                         Authentication; Fed. R. Evid.
              between Subject Design 2 and
   15         Infringing Garment 2            802: Hearsay; Fed. R. Evid.
                                              704: Improper Legal
   16                                         Conclusions; Fed. R. Evid.
   17                                         702: Improper Expert
                                              Opinion
   18                                         Fed. R. Evid. 901, 902:
        25.   Side-by-side Comparison
   19         between Subject Design 3 and    Authentication; Fed. R. Evid.
              Infringing Garment 3            802: Hearsay; Fed. R. Evid.
   20                                         704: Improper Legal
   21                                         Conclusions; Fed. R. Evid.
                                              702: Improper Expert
   22                                         Opinion
   23   26.   Email from Interfocus Counsel Fed. R. Evid. 802: Hearsay
              with Settlement Draft 1 in the  Fed. R. Evid. 408: Constitutes
   24                                         confidential settlement
              Prior Case
   25                                         communications protected
                                              from disclosure
   26
        27.   Email from Neman Brothers       Fed. R. Evid. 802: Hearsay
   27         Counsel with Settlement Draft 2 Fed. R. Evid. 408: Constitutes
              in the Prior Case               confidential settlement
   28

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               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1               Exhibit No.                            Objection              Ruling
    2                                            communications protected
    3                                            from disclosure
        28.   Email from Interfocus Counsel      Fed. R. Evid. 802: Hearsay
    4         with Settlement Draft 3 in the     Fed. R. Evid. 408: Constitutes
    5         Prior Case                         confidential settlement
                                                 communications protected
    6                                            from disclosure
    7   29.   Email from Neman Brothers          Fed. R. Evid. 802: Hearsay
              Counsel with Settlement Draft      Fed. R. Evid. 408: Constitutes
    8                                            confidential settlement
              in the Prior Case
    9                                            communications protected
                                                 from disclosure
   10                                            Fed. R. Evid. 802: Hearsay
        30.   Email from Interfocus Counsel
   11         approving the Final Draft of the   Fed. R. Evid. 408: Constitutes
              Settlement Agreement in the        confidential settlement
   12                                            communications protected
              Prior Case
   13                                            from disclosure
        31.   Emails exchanged for               Fed. R. Evid. 802: Hearsay
   14                                            Fed. R. Evid. 408: Constitutes
              settlement discussions, dated
   15         September 18 and September         confidential settlement
              29, 2020                           communications protected
   16                                            from disclosure
   17   32.   Emails exchanged for               Fed. R. Evid. 802: Hearsay
              settlement discussions, dated      Fed. R. Evid. 408: Constitutes
   18                                            confidential settlement
              October 5 and October 6, 2020
   19                                            communications protected
                                                 from disclosure
   20                                            Fed. R. Evid. 802: Hearsay
        33.   Interfocus Letter dated October
   21         5, 2020                            Fed. R. Evid. 408: Constitutes
                                                 confidential settlement
   22                                            communications protected
   23                                            from disclosure
        34.   Emails exchanged for               Fed. R. Evid. 802: Hearsay
   24
              settlement discussions, dated      Fed. R. Evid. 408: Constitutes
   25         October 29, 2020                   confidential settlement
                                                 communications protected
   26
                                                 from disclosure
   27   35.   Email from Interfocus Counsel      Fed. R. Evid. 802: Hearsay
              asking for a Settlement            Fed. R. Evid. 408: Constitutes
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               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1                Exhibit No.                           Objection              Ruling
    2         Agreement draft dated              confidential settlement
    3         November 13, 2020                  communications protected
                                                 from disclosure
    4   36.   The First Draft of the             Fed. R. Evid. 802: Hearsay
    5         Settlement Agreement               Fed. R. Evid. 408: Constitutes
              Negotiated between Neman           confidential settlement
    6                                            communications protected
              Brothers and Interfocus (not
    7         executed)                          from disclosure

    8   37.   The Final Draft of the             Fed. R. Evid. 802: Hearsay
              Settlement Agreement               Fed. R. Evid. 408: Constitutes
    9                                            confidential settlement
              Negotiated between Neman
   10         Brothers and Interfocus (not       communications protected
              executed)                          from disclosure
   11
        38.   Ruling on the MSJ in Neman         Fed. R. Evid. 402: Irrelevant
   12
              Brothers v. One Step Up (2:17-
   13         cv-6400-RGK- SS)
   14                                            Fed. R. Evid. 802: Hearsay
        39.   Descriptions on the care tags of
   15         the navy dress in the Prior Case   Fed. R. Evid. 402: Irrelevant;
              and the Infringing Garment 1       704: Improper Legal
   16                                            Conclusions
   17   40.   Descriptions on the care tags of   Fed. R. Evid. 802: Hearsay
              the baby top in the prior case     Fed. R. Evid. 402: Irrelevant;
   18                                            704: Improper Legal
              and the Accused Garment 2
   19                                            Conclusions
        41.   Mark Lee’s Email dated             Fed. R. Evid. 402: Irrelevant
   20
              February 2, 2021
   21
        42.   Interfocus Responses to Neman      Fed. R. Evid. 402: Irrelevant
   22         Brothers’ Interrogatories (Set
   23         One)
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               INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
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    1        INTERFOCUS, INC. d.b.a.www.patpat.com respectfully requests that the
    2 court sustain the above objections and to strike the evidence referred to above.
    3
                                               RIMON, P.C.
    4 Dated: August 2, 2021
    5
                                           By: /s/ Mark S. Lee
    6                                          Mark S. Lee
    7                                          Zheng Liu
    8                                           Attorneys for Defendants and
                                                Counterclaim Plaintiffs
    9                                           INTERFOCUS, INC. d.b.a.
   10                                           www.patpat.com

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                INTERFOCUS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF YOEL NEWMAN
